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JS 44 (Rev. 06/17)                                                         CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                             DEFENDANTS
        Amy Stankiewicz                                                                                       Pump N' Pantry, Inc.
        543 Thorn Hill Road                                                                                   6081 PA-92
        Clifford
    (b) County      Township,
               of Residence          PA 18407
                            of First Listed Plaintiff                   Susquehanna                           Lenox,    PA 18826
                                                                                                              County of Residence of First Listed Defendant               Susquehanna
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                         THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)
          Graham F. Baird, Law Office of Eric A. Shore
          2 Penn Center, 1500 JFK Blvd, Suite 1240, Philadelphia, PA 19102
          Tel: 267-546-0131
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                        and One Box for Defendant)
’ 1    U.S. Government                x’ 3    Federal Question                                                                     PTF       DEF                                           PTF      DEF
         Plaintiff                              (U.S. Government Not a Party)                        Citizen of This State         ’ 1       ’ 1       Incorporated or Principal Place       ’ 4     ’ 4
                                                                                                                                                         of Business In This State

’ 2    U.S. Government                ’ 4     Diversity                                              Citizen of Another State          ’ 2    ’    2   Incorporated and Principal Place    ’ 5     ’ 5
         Defendant                              (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                                     Citizen or Subject of a           ’ 3    ’    3   Foreign Nation                      ’ 6     ’ 6
                                                                                                       Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                             Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                             TORTS                                  FORFEITURE/PENALTY                         BANKRUPTCY                    OTHER STATUTES
’   110 Insurance                        PERSONAL INJURY                PERSONAL INJURY              ’ 625 Drug Related Seizure          ’ 422 Appeal 28 USC 158          ’ 375 False Claims Act
’   120 Marine                       ’   310 Airplane                 ’ 365 Personal Injury -              of Property 21 USC 881        ’ 423 Withdrawal                 ’ 376 Qui Tam (31 USC
’   130 Miller Act                   ’   315 Airplane Product               Product Liability        ’ 690 Other                               28 USC 157                       3729(a))
’   140 Negotiable Instrument                 Liability               ’ 367 Health Care/                                                                                  ’ 400 State Reapportionment
’   150 Recovery of Overpayment      ’   320 Assault, Libel &               Pharmaceutical                                                 PROPERTY RIGHTS                ’ 410 Antitrust
        & Enforcement of Judgment             Slander                       Personal Injury                                              ’ 820 Copyrights                 ’ 430 Banks and Banking
’   151 Medicare Act                 ’   330 Federal Employers’             Product Liability                                            ’ 830 Patent                     ’ 450 Commerce
’   152 Recovery of Defaulted                 Liability               ’ 368 Asbestos Personal                                            ’ 835 Patent - Abbreviated       ’ 460 Deportation
        Student Loans                ’   340 Marine                         Injury Product                                                     New Drug Application       ’ 470 Racketeer Influenced and
        (Excludes Veterans)          ’   345 Marine Product                 Liability                                                    ’ 840 Trademark                        Corrupt Organizations
’   153 Recovery of Overpayment               Liability                PERSONAL PROPERTY                         LABOR                     SOCIAL SECURITY                ’ 480 Consumer Credit
        of Veteran’s Benefits        ’   350 Motor Vehicle            ’ 370 Other Fraud              ’ 710 Fair Labor Standards          ’ 861 HIA (1395ff)               ’ 490 Cable/Sat TV
’   160 Stockholders’ Suits          ’   355 Motor Vehicle            ’ 371 Truth in Lending                Act                          ’ 862 Black Lung (923)           ’ 850 Securities/Commodities/
’   190 Other Contract                       Product Liability        ’ 380 Other Personal           ’ 720 Labor/Management              ’ 863 DIWC/DIWW (405(g))               Exchange
’   195 Contract Product Liability   ’   360 Other Personal                 Property Damage                 Relations                    ’ 864 SSID Title XVI             ’ 890 Other Statutory Actions
’   196 Franchise                            Injury                   ’ 385 Property Damage          ’ 740 Railway Labor Act             ’ 865 RSI (405(g))               ’ 891 Agricultural Acts
                                     ’   362 Personal Injury -              Product Liability        ’ 751 Family and Medical                                             ’ 893 Environmental Matters
                                             Medical Malpractice                                            Leave Act                                                     ’ 895 Freedom of Information
        REAL PROPERTY                      CIVIL RIGHTS                PRISONER PETITIONS            ’ 790 Other Labor Litigation          FEDERAL TAX SUITS                    Act
’   210 Land Condemnation            ’   440 Other Civil Rights         Habeas Corpus:               ’ 791 Employee Retirement           ’ 870 Taxes (U.S. Plaintiff      ’ 896 Arbitration
’   220 Foreclosure                  ’   441 Voting                   ’ 463 Alien Detainee                 Income Security Act                  or Defendant)             ’ 899 Administrative Procedure
’   230 Rent Lease & Ejectment       x
                                     ’   442 Employment               ’ 510 Motions to Vacate                                            ’ 871 IRS—Third Party                  Act/Review or Appeal of
’   240 Torts to Land                ’   443 Housing/                       Sentence                                                            26 USC 7609                     Agency Decision
’   245 Tort Product Liability               Accommodations           ’ 530 General                                                                                       ’ 950 Constitutionality of
’   290 All Other Real Property      ’   445 Amer. w/Disabilities -   ’ 535 Death Penalty                  IMMIGRATION                                                          State Statutes
                                             Employment                 Other:                       ’ 462 Naturalization Application
                                     ’   446 Amer. w/Disabilities -   ’ 540 Mandamus & Other         ’ 465 Other Immigration
                                             Other                    ’ 550 Civil Rights                   Actions
                                     ’   448 Education                ’ 555 Prison Condition
                                                                      ’ 560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
V. ORIGIN (Place an “X” in One Box Only)
x 1 Original
’                        ’ 2 Removed from                 ’ 3         Remanded from             ’ 4 Reinstated or       ’ 5 Transferred from     ’ 6 Multidistrict                  ’ 8 Multidistrict
    Proceeding               State Court                              Appellate Court               Reopened                Another District             Litigation -                   Litigation -
                                                                                                                        (specify)                        Transfer                      Direct File
                                          Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                                42 U.S.C.A. § 2000e-3(a)
VI. CAUSE OF ACTION Brief description of cause:
                                                Title VII Claim - Retaliation
VII. REQUESTED IN     ’ CHECK IF THIS IS A CLASS ACTION                                                 DEMAND $                                   CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                          150,000                                 JURY DEMAND:         x’ Yes ’ No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE                                                                                             DOCKET NUMBER
DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD
       11/2/2020
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                     APPLYING IFP                                      JUDGE                          MAG. JUDGE
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                          UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
______________________________________________________________________________
AMY STANKIEWICZ                      :
543 Thorn Hill Road                  :
Clifford Township, PA 18407          :
                                     :           JURY DEMANDED
              Plaintiff,             :
                                     :
              v.                     :
                                     :           No.
PUMP N’ PANTRY, INC.                 :
6081 PA-92                           :
Lenox, PA 18826                      :
                                     :
And                                  :
                                     :
PUMP N’ PANTRY, INC.                 :
754 Grow Ave                         :
Montrose, PA 18801                   :
                                     :
              Defendants.            :_________________________________________


                                 CIVIL ACTION COMPLAINT

I. Parties and Reasons for Jurisdiction.

       1.       Plaintiff, AMY STANKIEWICZ (hereinafter “Plaintiff”) is an adult individual

residing at the above address.

       2.       Defendant, PUMP N’ PANTRY, INC. (“PNP”) is a business corporation

organized by and operating under the laws of the Commonwealth of Pennsylvania owning,

operating and doing business at the above captioned address.

       3.       Defendant, PUMP N’ PANTRY, INC. (“PNP”) is a business corporation

organized by and operating under the laws of the Commonwealth of Pennsylvania and with a

corporate address as captioned above in Montrose, Pennsylvania. Both Defendants are

hereinafter collectively referred to as “Defendants.”
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       4.       At all times material hereto, Defendants qualify as Plaintiff’s employers pursuant

to the Title VII of the Civil Rights Act and the Pennsylvania Human Relations Act (“PHRA”).

       5.       Plaintiff has exhausted her administrative remedies pursuant to the Equal

Employment Opportunity Act and the Pennsylvania Human Relations Act. (See Exhibit A, a

true and correct copy of a “right-to-sue” letter issued by the Equal Employment Opportunity

Commission.)

       6.       This action is instituted pursuant to the Civil Rights Act of 1964 and the

Pennsylvania Human Relations Act and applicable federal law.

       7.       Jurisdiction is conferred by 28 U.S.C. §§ 1331 and 1343.

       8.       Supplemental jurisdiction over the Plaintiff’s state law claims is conferred

pursuant to 28 U.S.C. § 1367.

       9.       Pursuant to 28 U.S.C. § 1391(b)(1) and (b)(2), venue is properly laid in this

district because Defendant conducts business in this district, and because a substantial part of the

acts and/or omissions giving rise to the claims set forth herein occurred in this judicial district.

Plaintiff was working in the Middle District of Pennsylvania at the time of the illegal actions by

Defendant as set forth herein.

II. Operative Facts.

       10.      On or around January 1, 1999, Defendants hired Plaintiff, a Caucasian woman, as

a cashier for their Lenox, Pennsylvania location as captioned above.

       11.      Beginning in May of 2020, Defendants closed the Lenox, PA location for two (2)

weeks due to a suspected exposure to COVID-19.
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          12.   Upon reopening, Plaintiff was informed that her regular, overnight shift was no

longer available and that she would be scheduled to work an earlier shift, to which Plaintiff

agreed.

          13.   Upon beginning to work her new shifts, Plaintiff observed blatant racist and

derogatory statements being made by Defendants’ shift lead, Justin Hayes, a Caucasian man,

          14.   During one such situation, three African American customers came into the store

while Plaintiff and Mr. Hayes were working.

          15.   For seemingly no reason, Mr. Hayes told Plaintiff he did not want to wait on

them, and asked Plaintiff to do it instead, which Plaintiff agreed to do.

          16.   After the customers left, Mr. Hayes referred to them as “rude pieces of shit.”

          17.   During another situation, a Jamaican man came into Defendants’ store to have a

lottery ticket checked.

          18.   Mr. Hayes informed the customer that he “didn’t have time” to check his ticket

and to use a machine the store had to check it.

          19.   The customer complied; however Plaintiff observed a Caucasian customer who

was next in line produce a lottery ticket to be checked.

          20.   Mr. Hayes checked this customer’s ticket with no issue.

          21.   The Jamaican customer returned to Mr. Hayes’ line and requested again to have

his ticket checked, as the machine wasn’t working.

          22.   Mr. Hayes responded “you stupid people just don’t know how to work [the

machine].”

          23.   The customer asked Mr. Hayes to repeat himself, which Mr. Hayes refused to do.
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       24.     At that time, Plaintiff intervened, apologized on Mr. Hayes’ behalf and checked

the customer’s ticket.

       25.     Plaintiff also witnessed Mr. Hayes making homophobic comments such as “gays

need to be shot.”

       26.     Plaintiff informed Mr. Hayes that she did not appreciate this behavior, especially

as her son-in-law who is also an employee of Defendants’, is a gay man.

       27.     Plaintiff met with Defendants’ manager, Sarah, and Mr. Hayes to make a formal

complaint regarding Mr. Hayes’ racist and homophobic behavior, and indicated she felt

extremely uncomfortable working with him as a result.

       28.     Sarah responded that she would “take care of it” with Mr. Hayes privately as it

“wasn’t [Plaintiff’s] business.”

       29.     Plaintiff was not further informed as to what additional steps, if any, were taken to

address the behavior, and upon information and belief, Mr. Hayes was not disciplined and is still

employed by Defendants.

       30.     Following Plaintiff’s complaint, Sarah reported to Defendants’ district manager

Angie that Plaintiff was refusing to work her schedule because of conflict with another

employee.

       31.     Angie indicated that Plaintiff should “put in her resignation if she didn’t like

another employee or her schedule.”

       32.     At no time was Plaintiff questioned regarding her discrimination complaint.

       33.     At no time did Plaintiff resign or offer a resignation to Defendants.
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         34.    On May 14, 2020, Plaintiff was completely removed from the work schedule, and

to date, no representative of Defendants will speak with Plaintiff or answer or return her phone

calls.

         35.    Upon information and belief, Sarah told several of Defendants’ other employees

that Plaintiff quit, which is untrue.

         36.    Prior to her complaints, Plaintiff was an employee of Defendants for over twenty

(20) years with no issues, complaints, or write ups, while Mr. Hayes had not even been employed

with Defendants for one (1) year.

         34.    As set forth above, Defendants terminated Plaintiff in retaliation for her complaint

of race discrimination.

         35.    As a direct and proximate result of Defendant’s conduct, Plaintiff sustained great

economic loss, future lost earning capacity, lost opportunity, loss of future wages, as well

personal injury, emotional distress, humiliation, pain and suffering and other damages as set

forth below.

III. Causes of Action.

                       COUNT I – TITLE VII CLAIM--RETALIATION
                                 (42 U.S.C.A. § 2000e-3(a))

         36.    Plaintiff incorporates paragraphs 1-35 as if fully set forth at length herein.

         37.    At set forth above, Plaintiff attempted to complain about racial and sexual

orientation discrimination in the workplace and as such, Plaintiff was engaged in protected

activity under Title VII of the Civil Rights Act.

         38.    Soon after her complaint, Defendants took adverse action against Plaintiff by

terminating her employment.
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       39.     As set forth above, Plaintiff’s participation in protected activity was a motivating

factor in Defendants’ decision to terminate his employment.

       40.     As such, Defendants’ decision to terminate Plaintiff’s employment is a retaliatory

action prohibited by the Civil Rights Act of 1964, § 704(a).

       41.     As a proximate result of Defendants’ conduct, Plaintiff sustained significant

damages, including but not limited to: great economic loss, future lost earning capacity, lost

opportunity, loss of future wages, loss of front pay, loss of back pay, as well as emotional

distress, mental anguish, pain and suffering, consequential damages and Plaintiff also sustained

work loss, loss of opportunity, and a permanent diminution of earning power and capacity and a

claim is made therefore.

       42.     As a result of the conduct of Defendants’ owners/management, Plaintiff hereby

demands punitive damages.

       43.     Pursuant to the Civil Rights Act of 1964, § 704(a), 42 U.S.C. §2000e-3(a), et seq.,

Plaintiff demands attorneys fees and court costs.

   COUNT II – VIOLATION OF THE PENNSYLVANIA HUMAN RELATIONS ACT
                             (43 P.S. § 955)

       44.     Plaintiff incorporates paragraphs 1-43 as if fully set forth at length herein.

       45.     At all times material hereto, and pursuant to the Pennsylvania Human Relations

Act, 43 P.S. § 951, et seq, an employer may not racially discriminate or retaliate against an

employee.

       46.     Plaintiff is a qualified employee and person within the definition of Pennsylvania

Human Relations Act, 43 P.S. § 951, et seq.

       47.     Defendants are Plaintiff’s “employers” and thereby subject to the strictures of the

Pennsylvania Human Relations Act, 43 P.S. § 951, et seq.
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       48.      Defendants’ conduct in constructively terminating Plaintiff is an adverse action,

was taken as a result of her complaint of race and sexual orientation discrimination and

constitutes a violation of the Pennsylvania Human Relations Act, 43 P.S. § 951, et seq.

       49.      As a proximate result of Defendants’ conduct, Plaintiff sustained significant

damages, including but not limited to: great economic loss, future lost earning capacity, lost

opportunity, loss of future wages, loss of front pay, loss of back pay, loss of tips as well as

emotional distress, mental anguish, pain and suffering, consequential damages and Plaintiff has

also sustained work loss, loss of opportunity, and a permanent diminution of his earning power

and capacity and a claim is made therefore.

       50.      Pursuant to the Pennsylvania Human Relations Act, 43 P.S. § 951, et seq.,

Plaintiff demands attorneys fees and court costs.

IV. Relief Requested.

       WHEREFORE, Plaintiff AMY STANKIEWICZ demands judgment in her favor and

against Defendants PUMP N’ PANTR, INC. jointly and severally, in an amount in excess of

$150,000.00 together with:

       A. Compensatory damages, including but not limited to: back pay, front pay, past lost

             wages, future lost wages. Lost pay increases, lost pay incentives, lost opportunity, lost

             benefits, lost future earning capacity, injury to reputation, mental and emotional

             distress, pain and suffering and personal injury damages;

       B. Punitive damages;

       C. Attorneys fees and costs of suit;

       D. Interest, delay damages; and,

       E. Any other further relief this Court deems just proper and equitable.
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                                        LAW OFFICES OF ERIC A. SHORE, P.C.


                                        BY:
                                         GRAHAM F. BAIRD, ESQUIRE
                                          Two Penn Center
                                          1500 JFK Boulevard, Suite 1240
                                          Philadelphia, PA 19102

                                          Attorney for Plaintiff, Amy Stankiewicz
Date: 11/2/2020
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             EXH. A
                        Case 3:20-cv-02021-CCC Document 1 Filed 11/02/20 Page 11 of 12
EEOC Form 161 (11/16)                    U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

                                                 DISMISSAL AND NOTICE OF RIGHTS
To:    Amy Stankiewicz                                                                From:     Philadelphia District Office
       543 Thorn Hill Road                                                                      801 Market Street
       Clifford Township, PA 18407                                                              Suite 1000
                                                                                                Philadelphia, PA 19107


                            On behalf of person(s) aggrieved whose identity is
                            CONFIDENTIAL (29 CFR §1601.7(a))
EEOC Charge No.                                 EEOC Representative                                                    Telephone No.

                                                Legal Unit,
530-2020-04369                                  Legal Technician                                                       (267) 589-9700
THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
                 The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

                 Your allegations did not involve a disability as defined by the Americans With Disabilities Act.

                 The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.

                 Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
                 discrimination to file your charge
       X         The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
                 information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
                 the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.
                 The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

                 Other (briefly state)



                                                         - NOTICE OF SUIT RIGHTS -
                                                   (See the additional information attached to this form.)

Title VII, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)
before you file suit may not be collectible.

                                                                     On behalf of the Commission

                                                                                                                               9/2/2020
Enclosures(s)                                                                                                                  (Date Mailed)
                                                                 Jamie R. Williamson,
                                                                   District Director
cc:
           Donna A. Walsh, Esq.                                                      Graham F. Baird, Esq.
           Myers, Brier & Kelly, LLP                                                 LAW OFFICE OF ERIC SHORE
           425 Spruce Street                                                         2 Penn Center, Suite 1240
           Suite 200                                                                 1500 John F. Kennedy Boulevard
           Scranton, PA 18503                                                        Philadelphia, PA 19102
                      Case 3:20-cv-02021-CCC Document 1 Filed 11/02/20 Page 12 of 12
Enclosure with EEOC
Form 161 (11/16)
                                             INFORMATION RELATED TO FILING SUIT
                                           UNDER THE LAWS ENFORCED BY THE EEOC
                               (This information relates to filing suit in Federal or State court under Federal law.
                      If you also plan to sue claiming violations of State law, please be aware that time limits and other
                             provisions of State law may be shorter or more limited than those described below.)

                                       Title VII of the Civil Rights Act, the Americans with Disabilities Act (ADA),
PRIVATE SUIT RIGHTS               --
                                       the Genetic Information Nondiscrimination Act (GINA), or the Age
                                       Discrimination in Employment Act (ADEA):

In order to pursue this matter further, you must file a lawsuit against the respondent(s) named in the charge within
90 days of the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90-
day period is over, your right to sue based on the charge referred to in this Notice will be lost. If you intend to
consult an attorney, you should do so promptly. Give your attorney a copy of this Notice, and its envelope, and tell
him or her the date you received it. Furthermore, in order to avoid any question that you did not act in a timely
manner, it is prudent that your suit be filed within 90 days of the date this Notice was mailed to you (as
indicated where the Notice is signed) or the date of the postmark, if later.
Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction. (Usually, the appropriate
State court is the general civil trial court.) Whether you file in Federal or State court is a matter for you to decide
after talking to your attorney. Filing this Notice is not enough. You must file a "complaint" that contains a short
statement of the facts of your case which shows that you are entitled to relief. Courts often require that a copy of
your charge must be attached to the complaint you file in court. If so, you should remove your birth date from the
charge. Some courts will not accept your complaint where the charge includes a date of birth. Your suit may include
any matter alleged in the charge or, to the extent permitted by court decisions, matters like or related to the matters
alleged in the charge. Generally, suits are brought in the State where the alleged unlawful practice occurred, but in
some cases can be brought where relevant employment records are kept, where the employment would have
been, or where the respondent has its main office. If you have simple questions, you usually can get answers from
the office of the clerk of the court where you are bringing suit, but do not expect that office to write your complaint
or make legal strategy decisions for you.

PRIVATE SUIT RIGHTS               --   Equal Pay Act (EPA):

EPA suits must be filed in court within 2 years (3 years for willful violations) of the alleged EPA underpayment: back
pay due for violations that occurred more than 2 years (3 years) before you file suit may not be collectible. For
example, if you were underpaid under the EPA for work performed from 7/1/08 to 12/1/08, you should file suit
before 7/1/10 – not 12/1/10 -- in order to recover unpaid wages due for July 2008. This time limit for filing an EPA
suit is separate from the 90-day filing period under Title VII, the ADA, GINA or the ADEA referred to above.
Therefore, if you also plan to sue under Title VII, the ADA, GINA or the ADEA, in addition to suing on the EPA
claim, suit must be filed within 90 days of this Notice and within the 2- or 3-year EPA back pay recovery period.

ATTORNEY REPRESENTATION --                     Title VII, the ADA or GINA:

If you cannot afford or have been unable to obtain a lawyer to represent you, the U.S. District Court having jurisdiction
in your case may, in limited circumstances, assist you in obtaining a lawyer. Requests for such assistance must be
made to the U.S. District Court in the form and manner it requires (you should be prepared to explain in detail your
efforts to retain an attorney). Requests should be made well before the end of the 90-day period mentioned above,
because such requests do not relieve you of the requirement to bring suit within 90 days.

ATTORNEY REFERRAL AND EEOC ASSISTANCE                             --   All Statutes:

You may contact the EEOC representative shown on your Notice if you need help in finding a lawyer or if you have any
questions about your legal rights, including advice on which U.S. District Court can hear your case. If you need to
inspect or obtain a copy of information in EEOC's file on the charge, please request it promptly in writing and provide
your charge number (as shown on your Notice). While EEOC destroys charge files after a certain time, all charge files
are kept for at least 6 months after our last action on the case. Therefore, if you file suit and want to review the charge
file, please make your review request within 6 months of this Notice. (Before filing suit, any request should be
made within the next 90 days.)

                  IF YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THIS OFFICE.
